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WESTERN DISTRICT OF
UN|TED STATES OF AMER|CA
v.
CR|M|NAL COMPLA|NT
Daren BROOKS 4
CASE NU|V|BER: 09-|\/|J- (O ?

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge
and belief.

On or about October 30, 2009 in Chemung County, in the Western District of New York, defendant Daren

BROOKS did knowing|y, intentionally, and unlawfully possess with intent to distribute fifty (50) grams or more of
cocaine base, a Schedule ll controlled substance, in violation of Title 21, United States Code, Section 841 (a)(1 ),

(b)(1)(A)- l

I further state that l am a Special Agent of the Drug Enforcement Administration and that this complaint is based on the
following facts:

SEE ATTACHED AFF|DAVIT

Continued on the attached sheet and made a part hereon (\/) Yes ( ) No

()¢\AAM

JAMBS scHMsz, DEA’

Signature of Complainant

Sworn to before me and subscribed in my presence,

November 5 . 2009 a
Date

   
  

HON. JONATHAN W. FELDMAN, U.S. Magistrate Judge
Name & Tit|e of Judicial Officer

 

ture of Judicial Officer

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

09_MJ- (p ziL/'

AFFIDAVIT

_V_

DAREN A. BROOKS,
Defendant.

 

State of New York)
County of Monroe) ss
City of Rochester)

JAMES SCHMITZ, being duly sworn, deposes and says:

l. l am a Special Agent (SA) With the United States Department of Justice, Drug
Enforcement Administration (DEA), assigned to the New York Field Division,
Rochester Resident Office. I am an “investigative or law enforcement officer” of
the United State Within the meaning of Section 2510(7) of Title 18, United States
Code, that is, an officer of the United States Who is empowered by law to conduct
investigations of, and to make arrests for, offenses enumerated in Title 21, United
States Code, Section 801, et seq. and Title 18, Unites States Code, Section

2516(1).

2. l have been an agent With DEA since January, 2005 , and initially received sixteen

Weeks of specialized training in narcotics investigations at the DEA training

academy located in Quantico, Virginia. I have been assigned to the Rochester,

 

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New York Resident Office since July, 2005, Since that time, l have participated
in numerous cases involving the distribution of various drugs including
marijuana, cocaine, crack cocaine, and heroin. My participation in these cases has
included, but is not limited to, the monitoring and recording of court-authorized
Title III interceptions; execution of search warrants; direction of confidential
sources; and the debriefing of defendants and others involved in the distribution
and consumption of illegal drugs. I am familiar with how controlled substances
are obtained, diluted, packaged, distributed, sold and used within the framework

of drug trafficking in the Western District of New York.

3. This affidavit is submitted in support of a criminal complaint charging DAREN
A. BROOKS with a violation of Title 21, United States Code, Section 84l(a)(l),

(b)(l)(A) (possession with intent to distribute 50 grams or more of cocaine base).

4. The information in this affidavit is based upon personal knowledge obtained
through your affiant’s participation in this investigation, as well as information
and belief, the source being reports and information from other law enforcement

officers and agents, and the results of search warrants executed.

C()CAINE TRAFFICKING OF DAREN BROOKS

5. In July 2009, an investigation into the crack cocaine trafficking of DAREN A.

BROOKS was initiated by the Drug Enforcement Unit of the Elmira Police

 

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Department (EPD) and assisted by the New York State Police Community

Narcotics Enforcement Team (CNET).

6. During this investigation, law enforcement utilized confidential informant
controlled purchases, surveillance, a trash pull, and search warrants Some of the

evidence obtained as a result of the investigation is provided below.

7. Between July 2009 and October 2009, a confidential informant made controlled
purchases of 8-ball quantities of crack cocaine from BROOKS on four (4)
separate dates. The exact dates and amounts purchased are being withheld to

protect the identity of the confidential informant.

8. On October 28, 2009, Sgt. Bresser of the Elmira Police Department conducted a
trash pull at 515 College Avenue, a single-family home in Elmira which is
BROOKS’ residence Sgt. Bresser inspected two bags of garbage which were
retrieved from the curb in front of the residence ln the garbage, Sgt. Bresser
observed numerous items of personal mail, bills, and advertisements with the

name Daren A. Brooks and addressed to 515 College Ave, Elmira, NY 14901.

9. On October 30, 2009 at approximately 5:45 a.m., officers of the Elmira Police
Department and members of the New York State Police executed a New York
State no-knock search warrant at 515 College Avenue. Upon entry, officers

observed a male subj ect, later identified as Daren A. BROOKS, exit the bedroom

located at the top of the stairs, and he was taken into custody. In the same

 

 

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bedroom, officers located 18 year-old Tara Abraham still lying on the bed.
Officers secured an elderly female, later identified as BROOKS’s 60 year-old
grandmother Lottie Williams, as she exited the bathroom upstairs. Downstairs,
officers located the owner of the residence, 75 year-old Ella Thomas. No other

occupants were observed in the residence

10. During the search of the bedroom BROOKS exited, officers observed/seized

numerous items of evidence including the following:

¢ a plastic bag containing eleven (l l) individually-wrapped baggies of
suspected crack cocaine, a plastic bag containing four (4) individually-
wrapped baggies of suspected crack cocaine, and a plastic bag containing
marijuana, all located in a pair of Men’s Timberland boots, size 10.5 found
under the bed.

¢ a plastic bag containing three (3) smaller baggies, each containing 10
individually-wrapped baggies of suspected crack cocaine located in a blue
tOt€.

0 various documents (including receipts and mail) addressed to Daren Brooks at
515 College Ave. Elmira, NY located in a plastic bag hanging on the bedroom
door knob.

0 three (3) cellular telephones, including a Blackberry.

0 a wallet, a New York State benefit card in the name of Daren Brooks, and
$500 inside a black date book on top of the dresser.

ll. NYSP Inv. Gotschall conducted a field test on one piece of the suspected crack

cocaine, This field test did indicate positive for the presence of cocaine. The

suspected crack cocaine was all in rock-like form, which is consistent with the

 

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appearance of cocaine base, or crack cocaine. The gross weight of the crack

cocaine recovered in the bedroom was approximately 124 grams.

 

BROOKS’ CRIMINAL HISTORY
l2. A review of BROOKS’s criminal history reveals, among other things, that
BROOKS has the following two felony drug convictions:
l 0 On March 5, 1992, BROOKS pled guilty in U.S. District Court for the
Western District of New York to Conspiracy to Possess with Intent to
Distribute and Distribute Cocaine for which he was sentenced to 138 months
imprisonment and 5 years supervised release. BROOKS began serving his
supervised release period in 2000.
0 On October 20, 2003, BROOKS was convicted after trial in Chemung County
Court of Criminal Possession of a Controlled Substance in the Third Degree
for which he was sentenced to 5-10 years imprisonment BROOKS was

released to N.Y.S. Division of Parole on April ll, 2007 and discharged from
New York State Parole on April ll, 2009.

CONCLUSION
13. Given BROOKS’ prior convictions, his recent sales of cocaine, the number of
packages of crack cocaine (45), the individually-wrapped manner in which they
were packaged, the aggregate weight of these substances, and my training and
experience, I believe that the crack cocaine seized from BROOKS’ bedroom at

515 College Avenue was packaged for future distribution

l4. Based upon the foregoing, your affiant respectfully submits probable cause exists

that Daren BROOKS did knowingly and intentionally possess with intent to

 

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distribute 50 grams or more of cocaine base in violation of Title 21, United States

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Jafnes Schmitz
Special Agent
Drug Enforcement Administration

code, section 841(3)(1), (b)(i)(A).

   

¢: States Magistrate Judge

 

 

